          Case 3:13-cr-03481-BTM                       Document 573             Filed 05/01/15                PageID.2635           Page 1 of 5
     ~AO 2458 (CASD) (Rev, 4/14)

                Sheet 1
                                    Judgment in a Criminal Case
                                                                                                                                           Il~'t~
                                                                                                                                             "" IIr    I 't
                                                                                                                                                         t,.~ .. ~').
                                                                                                                                                  ~ ""71 r,'!;,~, ,
                                                                                                                                     ..........--..,
                                                                                                                                            W,Y 0 1 2015
                                              UNITED STATES DISTRICT COURT                                                          cl~rr:;~s7TIRiCf"COD'hT
                                                                                                                               s      Ef:~ DISTiller OF CALtFOHNi
                                                  SOUTHERN DISTRICT OF CALIFORNIA                                              BY                                       DEPUl

                     UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                        v.                                         (For Offenses Committed On or After November 1, 1987)

                          DAVID MEGUERIAN [13]                                     Case Number: 13CR3481-BTM
                                                                                   GEORGE MGDESYAN
                                                                                   Defendant's Attorney
    REGISTRATION NO. 66770112

    o
    THE DEFENDANT:
    181pleaded guilty to count(s) _1_O_F_T_H_E_IN_D_IC_T_M_E_N_T
                                                              _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

    o      was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilly of such counl(s), which involve the following offense(s):
                                                                                                                                                Count
    Title & Section                          Nature of Offense                                                                                 Number(s)
18USC1349                             Conspiracy 10 Commit Bank Fraud                                                                                      1




        The defendanl is sentenced as provided in pages 2 through               _5_ _ of this judgment. The sentence is imposed pursuant
10 the Sentencing Reform Act of 1984.
o   The defendant has been found nol guilty on COUnl(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

o    Count(s)                                                                       is   0    areo dismissed on the motion of the United States.
181 Assessment: $100 to be paid within 30 days.

181 Fine waived                                    o    Forfeiture pursuant to order filed                                    , included herein.
        IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines! restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                              APRIL 13, 2015
                                                                             Date of Imposition of Sentence




                                                                                                                                                   13CR3481-BTM
    Case 3:13-cr-03481-BTM                     Document 573        Filed 05/01/15            PageID.2636              Page 2 of 5
AO 245B (CASD) (Rev. 4/14) Judgment in a Criminal Case
           Sheet 2 - Imprisonment

                                                                                                   Judgment - Page       2     of         5
 DEFENDANT: DAVID MEGUERIAN [13]
 CASE NUMBER: 13CR3481-BTM
                                                          IMPRISONMENT
        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         TIME SERVED.



    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o The court makes the following recommendations to the Bureau of Prisons:                     ~~~
                                                                                                  BARRY ED MOSKOWITZ
                                                                                                  UNITED STATES DISTRICT JUDGE




    o   The defendant is remanded to the custody of the United States Marshal.

    o   The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oa.m.    Op.m.     on _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o before - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
       o as notified by the United States Marshal.
       o as notified by the Probation or Pretrial Services Office.
                                                             RETURN

I have executed this judgment as follows:

        Defendant delivered on                                                     to

at _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a celtified copy of this judgment.


                                                                                               UNITED STATES MARSHAL

                                                                   By
                                                                        ------------~D~E~P~U=T=Y~U=N=I=T=E=D=S=T=A=T=E=S=M=A~R=S=H~A~L~------------




                                                                                                                             13CR3481-BTM
       Case 3:13-cr-03481-BTM                    Document 573              Filed 05/01/15            PageID.2637             Page 3 of 5
AO 2458 (CASD) (Rev.4114) Judgment in a Criminal Case
           Sheet 3 - Supervised Release
                                                                                                               Judgment-Page        3     of        5
DEFENDANT: DAVID MEGUERIAN [13)                                                                       D
CASE NUMBER: 13CR3481-BTM
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.


         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offimses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements wilt not exceed submission of more than 2 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          --
D The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
       future substance abuse. (Check, ifapplicable.)

181 The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
181 The defendant shaH cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
    Backlog Elimination Act of2000,pursuant to 18 USC sections 3563(a)(7) and 3583(d).
o      The defendant shall comply with !fie requirements ofthe Sex Offender Registration and Notification Act (42 U.S.c. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a qualifying offense. (Check if applicable.)
o      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.


                                       ST ANDARD CONDITIONS OF SUPERVISION
  I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shaH answer truthfuHy all inquiries by the probation officer and foHow the instructions of the probation officer;
  4)    the defendant shaII support his or her dependents and meet other fami1y responsibilities;
  5)    the defendant shalt work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shalt not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
 10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall pennit confiscation of any
        contraband observed in plain view of the probation officer;
 11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
 13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
        record or personal history or characteristics and shalt permit the probation officer to make such notifications and to confirm the
        defendant's compliance with such notification requirement.

                                                                                                                                        13CR3481-BTM
          Case 3:13-cr-03481-BTM                     Document 573        Filed 05/01/15         PageID.2638            Page 4 of 5
        AO 2458 (CASD) (Rev. 4/14) Judgment in a Criminal Case
                   Sheet 4 - Special Conditions
                                                                                                         Judgment-Page _ _4_ of     _~5!..._ _

        DEFENDANT: DAVID MEGUERIAN [13]                                                             II
        CASE NUMBER: 13CR3481-BTM




                                             SPECIAL CONDITIONS OF SUPERVISION
!VI Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in
~ a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to
    a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant t
    this condition.

o   Participate in a program of drug or alcohol abuse treatment including testing and counseling, with at least I to 8 tests per month and I to 8
    counseling sessions per month as directed by the probation officer.
o   Not transport, harbor, or assist undocumented aliens.
o   Not associate with undocumented aliens or alien smugglers.
o   Not reenter the United States illegally.
181 Not enter the Republic of Mexico without written permission of the Court or probation officer.
181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
181 Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o   Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
181 Make restitution to the Bank of America in the amount of $13,572.01, to be paid forthwith.


181 Be prohibited from opening checking and credit accounts or opening additional lines of credit without approval of the probation officer.
181 Provide complete disclosure of personal and business financial records to the probation officer as requested.
o   Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of days upon release. This is a non punitive
    placement.
181 Seek and maintain full time employment and/or schooling or a combination of both.
o Resolve all outstanding warrants within                 days.
181 Complete 280 hours of community service in a program approved by the probation officer within 24 months.
o
o   If deported, excluded, or allowed to voluntarily leave the United States, obey all laws federal, state and local and not reenter the United
    States illegally and report to the probation officer within 72 hours of any reentry to the United States; the other conditions of supervision are
    suspended while the defendant is out of the United States after deportation, exclusion, or voluntary departure.




                                                                                                                                   13CR3481-BTM
      Case 3:13-cr-03481-BTM        Document 573          Filed 05/01/15      PageID.2639        Page 5 of 5
AO 245S (CASD Rev. 08/13) Judgment in a Criminal Case

  DEFENDANT:            DAVID MEGUERIAN [13]                                                  Judgment - Page 5 of 5
  CASE NUMBER:          13CR3481-BTM

                                           RESTITUTION


 The defendant shall pay restitution in the amount of $13,572.0 I              unto the United States of America.
 For the benefit of Bank of America through the Clerk of Court




This sum shall be due immediately. And shall be paid as follows. Forthwith.




The Court has determined that the defendant    does not      have the ability to pay interest. It is ordered that:
     The interest requirement is waived




                                                                                                      13CR3481-BTM
